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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
           Plaintiff,                              )
                                                   )
     vs.                                           )          Case No. SI4:06CR337CEJ(MLM)
                                                   )
PENELOPE ANN TUCKER,                               )
                                                   )
           Defendant.                              )

                        REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE
            CONCERNING PENELOPE A. TUCKER’S MOTION FOR SEVERANCE


       This matter is before the court on defendant Penelope A. Tucker’s Motion for Severance of

Trial from All Co-defendants. [Doc. 477] The government responded. [Doc. 525] Defendant Tucker

replied. [Doc. 540]

A.     Joinder

       In determining whether a defendant is entitled to a separate trial, the court must decide

whether joinder was proper under Rule 8 and whether joinder is likely to have a “substantial and

injurious effect or influence in determining the jury’s verdict.” United States v. Lane, 474 U.S. 438,

449 (1986), quoting Kotteakos v. United States, 328 U.S. 750, 776 (1946).

       Rule 8(b) of the Federal Rules of Criminal Procedure provides:

       The indictment or information may charge two or more defendants if they are alleged

       to have participated in the same act or transaction or in the same series of acts or

       transactions, constituting an offense or offenses. The defendants may be charged in

       one or more counts together or separately. All defendants need not be charged in

       each count.



       Joinder under Rule 8(b) requires that there be a factual interrelationship among all the joined

defendants and counts. E.g., United States v. Bledsoe, 674 F.2d 647, 656-57 (8th Cir.), cert. denied,

459 U.S. 1040 (1982). In determining before trial whether or not joinder was proper, the court must

see whether this factual interrelationship is alleged in the indictment. Id. at 655; United States v.
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Andrade, 788 F.2d 521, 529 (8th Cir.), cert. denied, 479 U.S. 963 (1986); see also United States v.

Jones, 880 F.2d 55, 62-63 (8th Cir. 1989). In this case, the actions of the defendants are factually

interrelated.   Each defendant is charged in Count I of the Superseding Indictment (RICO

Conspiracy). Count I of the Superseding Indictment spells out in detail the background of the

Gambling Enterprise, the role of each of the defendants and how each is related to the Gambling

Enterprise,1 the nature and scope of the Gambling Enterprise, the Racketeering Conspiracy and the

law violations alleged, the Manner, Method and Means of the Racketeering Conspiracy and the Overt

Acts committed. Thus it is clear on the face of the Superseding Indictment that joinder is proper.

Although some of the co-defendants are charged in other counts, it is not necessary that all

defendants be charged in all counts. Fed.R.Crim.P. 8(b); United States v. Jones, 880 F.2d 55, 62

(8th Cir. 1989). Generally speaking, Rule 8 is to be liberally construed in favor of joinder. Id. In the

present case defendant Tucker does not allege misjoinder. The court finds that joinder is proper.

B.      Severance

        Rule 14(a) of the Federal Rules of Criminal Procedure provides:

        If the joinder of offenses or defendants in an indictment, an information or a
        consolidation for trial appears to prejudice a defendant or the government, the court
        may order separate trials of counts, sever the defendants’ trials or provide any other
        relief that justice requires.

        In her Motion defendant Tucker requests that her trial be severed from that of her co-

defendants “due to the potential for prejudicial spillover.” She argues that “the evidence which the

government may seek to introduce to establish the majority of the allegations in the Superseding

Indictment contained in Count I (RICO Conspiracy) have nothing to do with [her] both as to the time

frame of her alleged involvement and the specific conduct at issue.” She states that “her alleged

involvement in the gambling activity of co-defendant Gary Kaplan is limited to, at most,

administrative and personal financial matters which are virtually unrelated to the RICO charges.”

        “When defendants properly have been joined under Rule 8(b), a district court should grant

       1
                ¶ 16 states “Defendant PENELOPE ANN TUCKER, also known as “Penny Tucker,” was
an employee and/or agent of defendant GARY KAPLAN and the GAMBLING ENTERPRISE, and a
principle in several corporations that were part of the GAMBLING ENTERPRISE, which is described
hereafter.

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a severance under Rule 14 only if there is a serious risk that a joint trial would compromise a specific

trial right of one of the defendants.” Zafiro v. United States, 506 U.S. 534, 539 (1993). “There is a

preference in the federal system for joint trials of defendants who are indicted together.” Id. at 537;

United States v. Shivers, 66 F.3d 938, 939 (8th Cir.), cert. denied, 516 U.S. 1016 (1995). Joint trials

are favored because they “conserve state funds, diminish inconvenience to witnesses and public

authorities, and avoid delays in bringing those accused of crime to trial.” United States v. Lane, 474

U.S. at 449, quoting Bruton v. United States, 391 U.S. 123, 134 (1968); United States v. Cadwell, 864

F.2d 71, 73-74 (8th Cir. 1988). The court must look to the defendant’s showing that prejudice would

result from joinder and consider whether such prejudice can be avoided at trial. Very often relevant

factors cannot be fully evaluated until during trial, e.g., the effect of limiting instructions, the strength

of the government’s evidence, the receipt of evidence not relevant to all defendants on all counts, and

the number of defendants tried jointly. United States v. Sazenski, 833 F.2d 741, 745-46 (8th Cir.

1987), cert. denied, 485 U.S. 906 (1988).

        “Rarely, if ever will it be improper for co-conspirators to be tried together.” United States v.

Stephenson, 924 F.2d 753, 761 (8th Cir.), cert. denied, 112 S.Ct. 63 (1991); United States v. Drew, 894

F.2d 965, 968 (8th Cir.), cert. denied, 494 U.S. 1089 (1990). “It is well settled that defendants are not

entitled to severance merely because they may have a better chance of acquittal in separate trials.”

Zafiro, 506 U.S. at 540. See also Layton v. South Dakota, 918 F.2d 739, 744 (8th Cir. 1990), cert.

denied, 499 U.S. 953 (1991). Likewise, severance is not required: If the evidence against a co-

defendant is more damaging, United States v. Pou, 953 F.2d 363, 369 (8th Cir.), cert. denied, 112 S.Ct.

1982 (1992); if the defendant’s role in the conspiracy is minor, United States v. Pecina, 956 F.2d 186,

188 (1992); or if all of the evidence will not be admissible against all co-defendants, United States v.

Sparks, 949 F.2d 1023, 1027 (8th Cir. 1991), cert. denied, 112 S.Ct. 1987 (1992).

        “The mere fact that there is hostility among the defendants or one defendant may try to save

himself at the expense of another is not sufficient grounds to require separate trials.” United States

v. Garret, 961 F.2d 743, 746 (8th Cir. 1992). “Mutually antagonistic defenses are not prejudicial per

se.” Zafiro, 506 U.S. at 538. In the present case the defendants do not allege antagonistic defenses.


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          Anticipated exculpatory testimony of a co-defendant does not automatically require

severance. United States v. Foote, 920 F.2d 1395, 1400 (8th Cir. 1990), cert. denied, 111 S.Ct. 2246

(1991). “Severance is not mandated simply because a co-defendant might testify and thereby only

‘increase the chances of acquittal or tend to rebut some aspect of the government’s case.’ Exculpation

is required.” Foote, 920 F.2d at 1400 (quoting United States v. Reed, 733 F.2d 492, 508 (8th Cir.

1984)).

          Severance is not required on the ground that the testimony of a co-defendant at trial would

compel defendant to testify or to suffer prejudice as a result of a decision not to testify. An instruction

cautioning the jury against drawing any adverse inference from his election not to testify will protect

the defendant from any prejudice anticipated by the co-defendant’s testimony. In addition, no

comment concerning the failure of any defendant to testify is permitted.

          Some factors will require pretrial severance. If the government intends to offer a confession

against one defendant which incriminates a co-defendant, the co-defendant is entitled to a separate

trial to avoid the prejudice of not being able to cross-examine the declarant. Bruton, 391 U.S. at 136

(1968). However, such prejudice may be avoided by the redaction from the confession of any

reference to the co-defendant. United States v. Kaminski, 692 F.2d 505, 522 (8th Cir. 1982). In the

present case there is no evidence before the court that the government intends to offer a confession

of one defendant that will incriminate a co-defendant. Bruton-type statements are therefore not an

issue at this time.

          As noted above defendant Tucker raises two grounds for requesting severance: the spillover

effect of a large part of the evidence having nothing to do with her and the inability of the jury to

compartmentalize the evidence against her.

1.        Extent of the Evidence

          Defendant Tucker argues that much of the evidence has nothing to do with her both as to the

time frame of her involvement and the specific conduct at issue. The Eighth Circuit has held denial

of a motion for severance proper where evidence was more damaging against one defendant than

another defendant and because a co-conspirator was not involved during the entire duration of the


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conspiracy. United States v. Frazier, 280 F.3d 835, 844 (8th Cir.), cert. denied, 537 U.S. 911 (2002).

A defendant’s limited involvement in a conspiracy does not warrant severance. United States v. El-

Muqsit, 191 F.3d 928, 941 (8th Cir.), cert. denied, 528 U.S. 1029 (1999); United States v. Pecina, 956

F.2d 186, 188 (1992). Not every defendant joined as a co-defendant must have participated in every

offense charged. See United States v. Williams, 97 F.3d 240, 243 (8th Cir. 1996). There is no

requirement in joint trials that the evidence of each defendant’s culpability be quantitatively or

qualitatively equivalent. United States v. Jones, 880 F.2d 55, 63 (8th Cir. 1989); United States v.

O’Connell, 841 F.2d 1408, 1432 (8th Cir.), cert. denied, 487 U.S. 1210 (1988).

        There is no question that this is a broad case and that discovery is voluminous. A significant

part of the government’s evidence at trial will deal with defendant Gary Kaplan, his gambling

activities and financial affairs. The evidence relating to defendant Tucker may not be as extensive.

However, if evidence and/or testimony would be admissible against the defendants in a separate trial

there can be no prejudice in a joint trial. United States v. Flores, 362 F.3d 1030, 1041 (8th Cir. 2004).

        The government argues that in order to prove its RICO conspiracy case it will have to prove:

        1.       The enterprise existed as alleged in the Indictment;
        2.       The enterprise was engaged in or had some effect on interstate commerce;
        3.       The defendant was associated with or employed by the enterprise;
        4.       That on or about the date alleged in the Indictment, two or more persons
        reached an agreement or came to an understanding to conduct or participate in the
        affairs of the enterprise, directly or indirectly, through a pattern of racketeering
        activity; and
        5.       That the defendant voluntarily and intentionally joined in the agreement or
        understanding, either at the time it was first reached or at some later time while it was
        still in existence, and at the time the defendant joined in the agreement or
        understanding, he/she specifically intended to otherwise participate in the affairs of
        the enterprise.

Eighth Circuit Model Criminal Jury Instructions 6.8.1962B (2003)

        In order to prove its case, the government will have to offer the same general evidence against

defendant Tucker as against her co-defendants. In addition, the government will have to adduce

specific evidence to prove an agreement between each defendant and at least one co-defendant. See

United States v. Darden, 70 F.3d 1507, 1526 (8th Cir. 1995) (Each defendant in conspiracy held

accountable for actions of other defendants in furtherance of conspiracy, thus all evidence offered



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against one defendant, regardless of whether co-defendant participated in those activities, is

admissible against all the defendants), cert. denied, 517 U.S. 1149 (1996).

        There is a distinct advantage to a joint trial of co-conspirators.

        The United States has a strong interest in the joint trial of the members of a criminal
        enterprise. Such trials save time and money for the courts, prosecutors and witnesses.
        Most importantly, however, justice is best served by trying members of a racketeering
        conspiracy together because a joint trial “gives the jury the best perspective on all of
        the evidence and therefore increases the likelihood of a correct outcome.” (internal
        citation omitted).

Darden, 70 F.3d at 1527-28.

        Based on the foregoing, there is no reason to sever defendant Tucker’s trial particularly when

it is more likely a joint trial will lead to the correct outcome.

2.      Jury Confusion

        “What is required for severance is a specific showing that jury could not be reasonably

expected to compartmentalize the evidence.” United States v. Hively, 437 F.3d 752, 765 (8th Cir.

2006). In spite of defendant Tucker’s arguments, the court sees no reason a jury could not recognize,

with appropriate instruction(s), what evidence is relevant and material to her. There is not

necessarily a correlation between the volume of evidence and inevitable confusion.

        For example, in United States v. Lueth, 807 F.2d 719, 731 (8th Cir. 1986) one of the

defendants who faced drug conspiracy charges argued that the jury would not be able to separate the

evidence against him from the evidence against a co-defendant on tax charges. The Eighth Circuit

pointed out that the trial judge used charts identifying the defendants and the counts of the

indictment as evidence was introduced and made repeated cautionary instructions to the jury. There

is no reason why a similar technique could not be used in this case. The Eighth Circuit has repeatedly

held that a court’s instructions to the jury will best distinguish the charges to guard against any

spillover effect. Hively, 437 F.3d at 765 citing United States v. Mickelson, 378 F.3d 810, 818 (8th Cir.

2004) (“The risk of prejudice posed by joint trials is best cured by careful and thorough jury

instructions.”)

        When defendants have been properly joined in an indictment, a motion to sever is addressed

to the sound discretion of the trial court and the trial court must “balance the inconvenience and

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expense of separate trials against the prejudice to the co-defendants of a joint trial.” United States

v. Anthony, 565 F.2d 533, 538 (8th Cir. 1977), cert. denied, 434 U.S. 1079 (1978). The Eighth Circuit

has recognized “that when ‘the indictment invites joint proof. . .prima facia validity of joinder is

showed.’” United States v. Rimell, 21 F.3d 281, 289 (8th Cir.)(internal citations omitted), cert.

denied, 513 U.S. 976 (1994). The interests of judicial economy weight heavily in favor of a joint trial.

In addition, the interests of justice are served “by avoiding the scandal and inequity of inconsistent

verdicts.” Zafiro 506 U.S. at 537 quoting Richardson v. Marsh, 481 U.S. 200, 210 (1987). “Trying co-

defendants together not only conserves scarce time and resources, but also ‘gives the jury the best

perspective on all of the evidence and therefore increases the likelihood of a correct outcome.’” Hively,

437 F.3d at 765 quoting Darden, 70 F.3d at 1528.

        Accordingly,

        IT IS HEREBY RECOMMENDED that defendant Penelope A. Tucker’s Motion for

Severance of Trial from All Co-defendants be DENIED. [Doc. 477]

        The parties are advised that they have eleven (11) days in which to file written objections to

this report and recommendation pursuant to 28 U.S.C. §636(b)(1), unless an extension of time for

good cause is obtained, and that failure to file timely objections may result in a waiver of the right to

appeal questions of fact. See Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990).



                                                    /s/Mary Ann L. Medler
                                                    MARY ANN L. MEDLER
                                                    UNITED STATES MAGISTRATE JUDGE



Dated this 11th day of December, 2007.




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